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Attorneys for Defendants

UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

ILLUMINA, INC. and
ILLUMINA CAMBRIDGE LTD.,

Plaintiffs,
V.

BGI GENOMICS CO., LTD.,
BGI AMERICAS CORP,

MGI TECH CO., LTD.,

MGI AMERICAS INC., and
COMPLETE GENOMICS INC.,

Defendants.

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Case No.: 3:19-cv-03770-WHO
Case No.: 3:20-cv-01465-WHO

DECLARATION OF HONGLIN ZHAO
IN SUPPORT OF DEFENDANTS’
OPPOSITION TO ILLUMINA’S
MOTION FOR PRELIMINARY
INJUNCTION

CONTAINS OUTSIDE ATTORNEYS’
EYES ONLY INFORMATION

 

 

 

DECL. OF HONGLIN ZHAO IN OPPOSITION OF
MOTION FOR PRELIMINARY INJUNCTION

Case No. 3:19-cv-03770

 
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I, Honglin Zhao, declare as follows:

ki I have personal knowledge of the facts stated herein. I could and would testify that
the following facts are true and correct, to the best of my knowledge, if called upon to do so.

2. I am currently employed by Complete Genomics Inc. (“CGI”) as a Director of
Human Resources (“HR”). My responsibilities include recruitment, compensation and benefits,
training, performance management, immigration, and functioning as an HR business partner with
CGI affiliated companies, including MGI Americas Inc. (“MGI Americas”), BGI Research, BGI
Americas, EGI and MGI Canada.

3. I have been employed by CGI since August 2017. Prior to that, and over a period
of six and a half years (i.e., from 2011 to 2017), I was a Manager, and then Director, of Human
Resources for BGI Americas Corp. I served in various roles within Human Resources, including
recruiting and talent retention, managing employee training, setting up HR policies, and
overseeing company reorganizations.

4. For purposes of the present litigation, I have been asked to estimate the number of
employees that CGI and MGI Americas would have to lay off if the Court enters an injunction
preventing Defendants from using its sequencers in the United States for purposes of research and
development and preventing MGI Americas from commercially launching its sequencers in the
United States, at least until the conclusion of the litigation. In consultation with company
executives, I have estimated that at least 54 employees would be laid off from CGI and MGI
Americas. These employees would include: (1) approximately 90% of the researchers, scientists,
and analysts in CGI’s San Jose-based R&D and biochemistry teams; (2) a portion of MGI
Americas’ sales force, marketing, admin, and business development teams; and (3) approximately
60% of CGI’s administrative team, including HR, finance, supply chain, and IT employees.

Nearly all of these employees are based in CGI and MGI Americas’ San Jose facilities.
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DECL. OF HONGLIN ZHAO IN OPPOSITION OF
MOTION FOR PRELIMINARY INJUNCTION Case No. 3:19-cv-03770

 
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3: If an injunction is entered and later lifted or vacated, it is unlikely that CGI and
MGI Americas would be able to rehire the employees they lost in the interim. Many employees
would have found other jobs, and all would likely be hesitant to return to a company they were
forced to leave because of an injunction.

6. It is also unlikely that these employees could be easily replaced. First, most of the
positions are for employees with specific skills and experience in genomic sequencing, and well-
qualified candidates are hard to come by. Second, CGI and MGI Americas’ ability to attract and
retain new hires would also be compromised due to reputational harm, as potential new
employees would be very likely reluctant to join a company after such substantial lay-offs.

Bs Even if CGI and MGI Americas could find qualified candidates to replace
employees that had been laid off, it would be extremely expensive and time consuming to train
them. Indeed, if an injunction were entered and later lifted or vacated, it would take CGI and
MGI Americas months to hire and train new employees to support the launch of MGI Americas’

sequencers.

I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

Dated: April 10, 2020 2 Zire, a Zr

HONGLIN ZHAO

 

 

 

DECL. OF HONGLIN ZHAO IN OPPOSITION OF
MOTION FOR PRELIMINARY INJUNCTION Case No. 3:19-cv-03770

 
